Case 1:17-cv-01953-RDM Document 5-6 Filed 09/25/17 Page 1 of 2




 Exhibit 3
         Case 1:17-cv-01953-RDM Document 5-6 Filed 09/25/17 Page 2 of 2



From: "Parker, Ryan" <Ryan.Parker@AtlasAir.com>
Date: August 24, 2017 at 19:39:11 EDT
To: "Carlson, Jeff" <Jeff.Carlson@AtlasAir.com>
Subject: FW: CVG Station Manager Report

Jeff,

Please see below email from our CVG Station manager.

Best Regards,
-Ryan

From: Carroll, Johnnie
Sent: Tuesday, August 15, 2017 8:39 AM
To: Parker, Ryan <Ryan.Parker@AtlasAir.com>
Cc: Thomas Killian <Tkillian@southernair.com>; Beck, Ted <Ted.Beck@AtlasAir.com>; Lansing, Dan
<Dan.Lansing@AtlasAir.com>
Subject: RE:         Departure | Crew Issue

Ryan

Aug 2nd
Aircraft
Aircraft was on station as previous day's spare
The on load had no issues
The last pallet arrived to the plane at 1616
The load verification was READY at 1634
Sable wt/bal to the crew at 1635
1704 GCC called me to say crew had issue with catering, that it was bad
1706 went up to check, saw captain in galley area making a sandwich, and on the phone with GCC
The catering he was complaining about was the old catering (catering didn't remove) the new catering
was fine
1708 called GCC back to say no issues
Between 1708 - 1715, I was on the plane and saw the load verifier still standing there, I asked him did
you not do the verification yet, he says no, I have been standing here for 35 mins, ignored by the crew
The crew was sitting back, having coffee, talking about this and that, complaining about this and that,
At 1717 I asked the Capt "are you guys good to go?"
He replied with, yes, we are not scheduled to block out till 1730
I said, can you do the verification?
He replied with, "oh, yea we can do that"
Verification completed at 1717
Doors closed at 1720
Aircraft visually blocked out at 1735
ACARS shows it as OUT 1730/OFF 1741

Johnnie Carroll
Station Manager
203-291-9860
Johnnie.Carroll@AtlasAir.com
ATLAS AIR
